                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2022-NCCOA-266

                                         No. COA21-274

                                       Filed 19 April 2022

     Randolph County, No. 19 CVD 1606

     BRIAN R. TURNER, Plaintiff,

                  v.

     LINDSEY OAKLEY (now LEGGE), Defendant.


           Appeal by Plaintiff from orders entered 31 July 2020 and 17 August 2020 by

     Judge Lee W. Gavin in Randolph County District Court. Heard in the Court of

     Appeals 25 January 2022.


           Lake Tillery Law, by Brooke M. Crump, for Plaintiff-Appellant.

           Cathy R. Stroupe for Defendant-Appellee.


           COLLINS, Judge.


¶1         This appeal stems from Plaintiff’s August 2018 motion to modify custody of the

     parties’ son, Matthew.1 Plaintiff argues that the trial court lacked jurisdiction to

     enter an order modifying custody, made a finding of fact not supported by substantial

     evidence, failed to find a nexus between the substantial change in circumstances and

     Matthew’s welfare, failed to make sufficient findings concerning evidence of child



           1 We use a pseudonym to protect the identity of the minor.
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     abuse, and abused its discretion. After careful review, we affirm.

                                     I.      Background

¶2         The parties are the parents of Matthew, a minor child born in March 2010.

     The parties were never married.

¶3         On 15 April 2013, Plaintiff filed a complaint in Rockingham County District

     Court seeking primary custody of Matthew. On 26 November 2013, the district court

     entered an order granting primary custody to Defendant and secondary custody to

     Plaintiff (“2013 Custody Order”). This order awarded the parties physical custody of

     Matthew as follows: Plaintiff had physical custody on “all weekends that [Defendant]

     must work”; Defendant had physical custody the weekend immediately following; and

     Plaintiff had physical custody “for the next two successive weekends immediately

     following[.]” The 2013 Custody Order also included a holiday schedule granting each

     party physical custody “for as close to equal time [as] is practical,” and a provision

     permitting each party custody for vacation purposes upon advance notice.

¶4         On 10 August 2018, Plaintiff filed an Ex Parte Motion for Emergency Custody

     and Modification of Prior Order on Custody (“Custody Motion”) seeking temporary

     and permanent custody of Matthew. Plaintiff alleged there had been a substantial

     and material change in circumstances affecting Matthew’s welfare since the entry of

     the 2013 Custody Order as follows:

                  a.   Since the school year ended, [Matthew] has primarily
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                      resided with Plaintiff.
                 b.   On March 29, 2018, Defendant called Plaintiff in a rage
                      and said that she couldn’t do anything for [Matthew]
                      while screaming at [Matthew] to go live with
                      [D]efendant if that’s what [Matthew] wanted.
                 c.   [Matthew] has expressed concern that Defendant does
                      not have time for him during the school week due to
                      her busy schedule in the evenings including going to
                      work and school, whereas she has enrolled in school on
                      four different occasions.
                 d.   Defendant has not been keeping up with [Matthew’s]
                      homework and has trouble communicating with
                      teachers.
                 e.   Defendant currently has [Matthew] in therapy due to
                      the strained relationship between Defendant and
                      [Matthew].
                 f.   The current visitation schedule is not in the best
                      interest of [Matthew] due to Defendant’s current
                      mental state, Defendant’s threats to [Matthew], and
                      Defendant’s strained relationship with [Matthew].
                 g.   Plaintiff has married and [Matthew] has a strong
                      familial bond with both Plaintiff and Plaintiff’s wife.
                 h. Modifying the schedule to give specific visitation times
                    for Defendant’s visitations, and giving Plaintiff
                    primary custody, will promote consistency and
                    stability for [Matthew], which is in the best interests of
                    [Matthew].

¶5         The trial court granted Plaintiff emergency full custody of Matthew by an ex

     parte order. Following a hearing on 29 August 2018, the trial court entered an order

     on 14 December 2018 granting Plaintiff “temporary primary physical and legal

     custody” of Matthew and awarding Defendant “supervised visitation at a time,
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     location, frequency, and duration mutually agreed upon by the parties” (“Initial

     Emergency Custody Order”).

¶6         Defendant moved the court on 11 January 2019 to establish a visitation

     schedule (“Visitation Motion”). Defendant alleged that Plaintiff had “systematically

     denied” her requests for visitation under the Initial Emergency Custody Order and

     refused to communicate with Defendant.

¶7         On 8 February 2019, the trial court entered a Temporary Memorandum of

     Judgment/Order (“First Memorandum Order”) incorporating the parties’ agreement

     to permit Defendant certain supervised visitation with Matthew in person and by

     phone. On 5 March 2019, the trial court entered a Temporary Order adjusting the

     time at which Defendant was to have telephone visitation with Matthew.

¶8         The trial    court   entered an additional Temporary        Memorandum of

     Judgment/Order on 5 April 2019 (“Second Memorandum Order”), containing another

     agreement by the parties to permit Defendant supervised visitation with Matthew in

     person and by phone. The Second Memorandum Order also provided that “[t]his

     matter is temporary in nature, entered without prejudice to either party” and ordered

     the case be transferred to Randolph County District Court. On 9 May 2019, the

     Rockingham County District Court entered a Temporary Order containing the same

     terms as the Second Memorandum Order.

¶9         Defendant responded to Plaintiff’s Custody Motion on 9 May 2019.           The
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       Randolph County District Court received the case file on 16 July 2019 and noticed a

       hearing on Plaintiff’s Custody Motion. The trial court heard Plaintiff’s motion on

       8 November 2019, 18 February 2020, and 7 July 2020.

¶ 10         On 31 July 2020, the trial court entered a Temporary Order directing Plaintiff

       to bring Matthew to Defendant’s home that evening, pending entry of a final order

       (“July 2020 Temporary Order”). Plaintiff filed a notice of appeal from the July 2020

       Temporary Order.2

¶ 11         The trial court entered a Custody Order on 17 August 2020 (“August 2020

       Custody Order”) which included the following pertinent findings of fact:

                    5. That a Court Order which included provisions for child
                    custody of [Matthew] was entered on or about November
                    26, 2013, in Rockingham County, North Carolina District
                    Court . . . . In said Order, Defendant was granted primary
                    custody, control, and tuition of [Matthew], with Plaintiff
                    exercising certain visitation. . . .

                    6. That thereafter, Defendant relocated to Guilford
                    County, North Carolina and continued to be the primary
                    caregiver of [Matthew].

                    7. That Defendant’s brother died unexpectedly in an
                    automobile accident in 2017. Defendant and her brother
                    were very close and Defendant had a hard time dealing
                    with his death.

                    8. That on August 8, 2018, Defendant was to pick up
                    [Matthew] following summer visitation with Plaintiff.
                    Defendant was under continued stress from dealing with


             2 Plaintiff raised no arguments concerning the July 2020 Temporary Order in his brief.
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her brother’s death and was dealing with anxiety and
depression. She had suffered panic attacks for the two
weeks prior to August 8, 2018. Defendant had concerns
about her ability to care for [Matthew], and out of that
concern, Defendant asked Plaintiff’s wife to keep
[Matthew]. Plaintiff’s wife testified that Defendant had
developed a trust with Plaintiff’s wife and Plaintiff’s wife
agreed to keep [Matthew].

9. That after speaking with Plaintiff’s wife on August 8,
2018, Defendant voluntarily committed herself at Wesley
Long Hospital, Greensboro, North Carolina. Contrary to
the testimony of Plaintiff’s wife that they did not learn of
the hospitalization until the next week, the Defendant’s
husband informed the Plaintiff on August 9th of
Defendant’s hospitalization. Defendant was released from
Wesley Long Hospital on August 16, 2018.

10. That on August 10, 2018, Plaintiff obtained an ex parte
custody Order in Rockingham County District Court. A
return hearing was held on August 29, 2018. At the
hearing, the Court entered [the Initial Emergency Custody
Order] granting Plaintiff temporary custody and allowing
Defendant supervised visitation to be mutually agreed
upon by the parties.

11. Following the August 29, 2018 hearing Defendant was
in a state of shock at losing custody of [Matthew]. She was
assessed by Dr. Alexander Eksir (“Dr. Eksir”), a board-
certified licensed psychiatrist, who diagnosed her with a
severe episode of depression with psychotic symptoms.
Defendant voluntarily admitted herself to Moses Cone
Hospital on August 31, 2018 and was discharged on
September 5, 2018. Upon her discharge, Defendant was
stable and substantially improved.

12. That Defendant has followed up with Dr. Eksir who
described Defendant as a model patient. Dr. Eksir testified
that Defendant suffered a major depressive disorder that
is in remission. Dr. Eksir described Defendant as cured.
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He testified that she is down to earth, involved and
engaged with no impairment. He has no concerns that
Defendant is a danger to herself or anyone else. She had
no problem with the birth of her second child. Dr. Eksir
has no concern about children being in Defendant’s care.

13. That notwithstanding the fact that the [Initial
Emergency Custody Order] provided for Defendant to have
supervised visitation with [Matthew], Plaintiff allowed
Defendant to have unsupervised visits with [Matthew]
during Thanksgiving 2018 and at Defendant’s home for
Christmas 2018. These visits went very well.

14. That Defendant asked Plaintiff many times for
expanded visits and a visitation schedule which Plaintiff
refused. That Plaintiff filed [the Visitation Motion] on
January 11, 2019 asking the (Rockingham County, North
Carolina) Court to set a visitation schedule. The parties
were in Court on February 8, 2019 but the Court was
unable to conduct a full hearing on Defendant’s motion.
The parties reached [the First Memorandum Order] for a
supervised visitation schedule, under which Defendant
was to have supervised visitation every Friday and
Saturday in Guilford County, North Carolina.

15. That Defendant noticed the matter back on for a review
of the [Initial Emergency Custody Order] in Rockingham
County District Court and the matter was set for hearing
on April 5, 2019.

16. That the parties returned to (Rockingham County,
North Carolina) Court on April 5, 2019 for the Court to
conduct a hearing and review of the[Initial Emergency
Custody Order]. Again, the Court was unable to conduct a
full hearing on said review and an oral motion was made
to change venue to Randolph County, North Carolina since
neither party now lived in Rockingham County, North
Carolina. [The Second Memorandum Order] was entered
under which, after two (2) Saturday visitations, Defendant
was to exercise supervised visitation every Sunday from
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                    1:00 p.m. to 5:00 p.m. at Freedom Park, Liberty, Randolph
                    County, North Carolina. The (oral) change of venue was
                    then granted and the matter was transferred to Randolph
                    County, North Carolina.

                    17. That since April 5, 2019, except for very limited
                    exceptions, Plaintiff has only allowed Defendant
                    supervised visitation with [Matthew] at Freedom Park, no
                    matter the weather or the fact that Defendant had given
                    birth to another child, and that child should not be in the
                    open elements for four hours.

                    18.    That Plaintiff’s main complaint regarding the
                    visitation between Defendant and [Matthew] was that the
                    half-siblings were competitive with each other during said
                    visitation, and that Defendant should only be the person
                    visiting with [Matthew], despite the fact that [Matthew]
                    had a step-father and half-siblings that only saw him 4
                    hours each week. That despite repeated requests from
                    Defendant, the Plaintiff refuses to allow any expanded
                    visitation between Defendant and [Matthew] and no good
                    cause has been shown for such refusal.

                    19. That the paternal grandmother, who supervised most
                    of the visits between Defendant and [Matthew], testified
                    that the visits went very well, that [Matthew] is very
                    bonded to the Defendant, that he loves his mother, and that
                    the only concern she expressed was that [Matthew] would
                    not get “one-on-one” attention because there are other
                    children in Defendant’s home.

                    20. That Defendant remains gainfully employed with
                    Moses Cone Hospital and that her work schedule allows
                    her to be home all but 5-7 days per month.

¶ 12         Based upon the foregoing findings of fact, the trial court concluded that “since

       the entry of the [2013 Custody Order] there has been a substantial change of

       circumstances that affect[s] the general welfare of” Matthew. The trial court further
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       concluded that “it is in the best interest of [Matthew] that the [2013 Custody Order]

       be modified and that the parties shall have joint legal custody of” Matthew and it “is

       in the best interest, safety and general welfare of [Matthew that his] primary care,

       custody and control be placed with the Defendant, with Plaintiff exercising certain

       visitation with [Matthew] as more fully stated in the decretal portion of this Order.”

       The trial court granted the parties joint legal custody and Defendant primary

       physical custody.   The trial court awarded Plaintiff visitation with Matthew as

       follows: (1) three weekends of each month, from 5 p.m. Friday until 7 p.m. Sunday;

       (2) a 30-day period during the school summer recess; (3) Father’s Day, a portion of

       Matthew’s birthday, and every other Christmas, Thanksgiving, and Easter holiday;

       and (4) other periods as the parties agree. Plaintiff gave notice of appeal from the

       August 2020 Custody Order.

                                       II.     Discussion

       A. Trial Court’s Jurisdiction to Enter the August 2020 Custody Order

¶ 13         Plaintiff argues that the trial court lacked jurisdiction to enter the August 2020

       Custody Order. Though Plaintiff did not raise this argument before the trial court,

       the issue of subject matter jurisdiction may be raised for the first time on appeal. In

       re T.R.P., 360 N.C. 588, 595, 636 S.E.2d 787, 793 (2006). We review this issue de

       novo. McKoy v. McKoy, 202 N.C. App. 509, 511, 689 S.E.2d 590, 592 (2010).

¶ 14         An existing order “for custody of a minor child may be modified or vacated at
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       any time, upon motion in the cause and a showing of changed circumstances by either

       party or anyone interested.” N.C. Gen. Stat. § 50-13.7(a) (2020). “[T]he jurisdiction

       of the court entering [a child custody] decree continues as long as the minor child

       whose custody is the subject of the decree remains within its jurisdiction.” Stanback

       v. Stanback, 287 N.C. 448, 456, 215 S.E.2d 30, 36 (1975) (citations omitted).

¶ 15         Plaintiff asserts that the trial court was deprived of jurisdiction to enter the

       August 2020 Custody Order because his Custody Motion was no longer pending.

       Plaintiff contends that the trial court “overlooked the fact that multiple orders had

       been entered since Plaintiff filed” his Custody Motion.

¶ 16         Contrary to Plaintiff’s assertion, until the August 2020 Custody Order, none of

       the trial court’s orders finally resolved Plaintiff’s claim for permanent custody in his

       Custody Motion. The 10 August 2018 ex parte order granted “emergency full custody”

       to Plaintiff and set the matter for a review hearing. The Initial Emergency Custody

       Order granted Plaintiff only “temporary primary physical and legal custody,” with

       Defendant’s visitation to be “mutually agreed upon by the parties.”          Following

       Defendant’s Visitation Motion, the trial court entered the First Memorandum Order

       which set a schedule of visitation between Defendant and Matthew. The subsequent

       5 March 2019 Temporary Order merely adjusted the time at which Defendant was to

       have telephone visitation with Matthew. This order noted that it embodied only a

       “temporary agreement as to custody and visitation, pending further hearing and/or
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       disposition by the Court.” The Second Memorandum Order set a new schedule of in-

       person and telephonic visits between Defendant and Matthew and expressly specified

       that it was “temporary in nature, entered without prejudice to either party.” The

       9 May 2019 Temporary Order contained these same terms.                 Defendant filed a

       response to Plaintiff’s Custody Motion on 9 May 2019 and the trial court listed

       Plaintiff’s Custody Motion as one of the matters for hearing on three consecutive

       notices of hearing. At the beginning of the 8 November 2019 hearing, Counsel for

       Plaintiff answered affirmatively when the trial court inquired, “So you have a motion

       to modify, correct?”

¶ 17          Moreover, even if Plaintiff’s Custody Motion was no longer technically pending,

       “the absence of a motion to modify . . . does not divest the district court of jurisdiction

       to act under the purview of” the modification provision in N.C. Gen. Stat. § 50-13.7(a).

       Catawba Cnty. ex rel. Rackley v. Loggins, 370 N.C. 83, 94, 804 S.E.2d 474, 482 (2017).

       “A primary purpose of a requirement to file a motion in order to modify” is to “make

       the court aware of important new facts unknown to the court at the time of the prior

       custody decree.” Id. at 96, 804 S.E.2d at 483 (quotation marks and citation omitted).

       Where the conduct of the parties satisfies this purpose, no motion is required.

       Summerville v. Summerville, 259 N.C. App. 228, 241, 814 S.E.2d 887, 897 (2018). In

       the present case the parties amply apprised the trial court of new facts unknown at

       the time of the 2013 Custody Order: Plaintiff filed the Custody Motion, Defendant
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       filed a response, and the parties appeared for multiple hearings during which the

       trial court heard testimony.

¶ 18         The trial court was not deprived of jurisdiction to modify custody of Matthew

       and the August 2020 Custody Order is not void for lack of jurisdiction.

       B. Substantive Challenges to the August 2020 Custody Order

¶ 19         Plaintiff also raises several substantive challenges to the August 2020 Custody

       Order. A “trial court’s examination of whether to modify an existing child custody

       order is twofold.” Shipman v. Shipman, 357 N.C. 471, 474, 586 S.E.2d 250, 253
       (2003).

                    The trial court must determine whether there was a
                    change in circumstances and then must examine whether
                    such a change affected the minor child. If . . . the trial court
                    determines that there has been a substantial change in
                    circumstances and that the change affected the welfare of
                    the child, the court must then examine whether a change
                    in custody is in the child’s best interests. If the trial court
                    concludes that modification is in the child’s best interests,
                    only then may the court order a modification of the original
                    custody order.

       Id.
¶ 20         “In a child custody case, the trial court’s findings of fact are conclusive on

       appeal if supported by substantial evidence, even if there is sufficient evidence to

       support contrary findings.” Peters v. Pennington, 210 N.C. App. 1, 12-13, 707 S.E.2d

       724, 733 (2011) (citation omitted). “Substantial evidence is such relevant evidence as
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       a reasonable mind might accept as adequate to support a conclusion.” Id. at 13, 707

       S.E.2d at 733 (quoting State v. Smith, 300 N.C. 71, 78-79, 265 S.E.2d 164, 169 (1980)).

       We review a trial court’s decision in a child custody case for an abuse of discretion.

       Id. An abuse of discretion occurs only where “the court’s decision is manifestly

       unsupported by reason or is so arbitrary that it could not have been the result of a

       reasoned decision.” Barton v. Sutton, 152 N.C. App. 706, 710, 568 S.E.2d 264, 266
       (2002) (quotation marks and citation omitted).

          1. Finding Concerning Dr. Eksir’s Testimony

¶ 21         Plaintiff challenges the trial court’s finding that “Dr. Eksir described

       Defendant as cured.”

¶ 22         Dr. Eksir testified that when Defendant was discharged in the fall of 2018, her

       condition was not yet resolved but was stable and “substantially improved.” Dr. Eksir

       explained that at a follow-up appointment, Defendant’s condition was sufficiently

       improved to taper her off of some of the medication she had been prescribed during

       her hospitalization. Dr. Eksir testified that Defendant’s major depressive disorder

       was in remission and defined “remission” as the point

                    when medication that’s provided or whatever treatment
                    has provided full reconstitution of a person’s mood such
                    that they’re able to function and behave and act and are
                    existing without any ongoing symptoms of their psychiatric
                    illness. It’s essentially like, you know, cured so to speak.

       According to Dr. Eksir, Defendant maintained stability after her discharge from the
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       hospital and her prognosis was “excellent.”          Dr. Eksir’s testimony concerning

       Defendant’s improvement is substantial evidence in support of the trial court’s

       finding that Dr. Eksir “described Defendant as cured.”

¶ 23         Plaintiff emphasizes that none of the medical records read at the hearing state

       that Defendant was “cured” and contends that “it is common knowledge that if you

       have to take medicine for something, then you are not ‘cured.’” These arguments are

       misplaced because the trial court only found that Dr. Eksir “described Defendant as

       cured,” a finding sufficiently supported by Dr. Eksir’s testimony.

¶ 24         Without challenging any specific finding, Plaintiff also contends that the trial

       court gave “far too much weight” to Dr. Eksir’s testimony concerning Defendant’s

       current mental status. Plaintiff suggests that Dr. Eksir’s testimony warranted less

       weight “considering that Dr. Eksir only sees the Defendant approximately every three

       months.” This argument is unavailing because

                    [a] trial judge passes upon the credibility of the witnesses
                    and the weight to be given their testimony and the
                    reasonable inferences to be drawn therefrom. Issues of
                    witness credibility are to be resolved by the trial judge. It
                    is clear beyond the need for multiple citation that the trial
                    judge, sitting without a jury, has discretion as finder of fact
                    with respect to the weight and credibility that attaches to
                    the evidence. . . . [I]t is not for an appellate court to
                    determine de novo the weight and credibility to be given to
                    evidence disclosed by the record on appeal.

       Phelps v. Phelps, 337 N.C. 344, 357, 446 S.E.2d 17, 25 (1994) (quotation marks,
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       brackets, and citations omitted). Plaintiff’s argument is overruled.

          2. Nexus Between Change in Circumstances and Matthew’s Welfare

¶ 25          Plaintiff also argues that the trial court erred by failing to find a nexus between

       the substantial change in circumstances and Matthew’s welfare and by failing to

       examine whether modification was in Matthew’s best interests. We disagree.

¶ 26          “Unless the effect of the [substantial change in circumstances] on the children

       is ‘self-evident,’ the trial court must find sufficient evidence of a nexus between the

       change in circumstances and the welfare of the children.” Stephens v. Stephens, 213

       N.C. App. 495, 499, 715 S.E.2d 168, 172 (2011) (citing Shipman, 357 N.C. at 478, 586

       S.E.2d at 255-56).

¶ 27          The trial court made findings concerning Defendant’s mental health

       difficulties, her improvement upon hospitalization and treatment, her successful

       visitation with Matthew, and her continued employment and flexible work schedule.

       The trial court’s findings3 show that Defendant’s mental health crisis initially

       affected not only her ability to care for herself, but her ability to care for Matthew.

       The findings further show that Defendant improved following hospitalization and


              3 In his principal brief, Plaintiff challenges only the trial court’s finding that “Dr. Eksir

       described Defendant as cured.” The remaining unchallenged findings of fact are binding on
       appeal, Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729, 731 (1991), regardless of
       Plaintiff’s belated attempt to challenge multiple additional findings in his reply brief, see
       McLean v. Spaulding, 273 N.C. App. 434, 441, 849 S.E.2d 73, 79 (2020) (“Under Rule 28(b)(6)
       of the North Carolina Rules of Appellate Procedure, where a party fails to assert a claim in
       its principal brief, it abandons that issue and cannot revive the issue via reply brief.”).
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       treatment and consequently has been able to exercise successful visitation with

       Matthew. Based upon these findings, the trial court concluded that there had been a

       substantial change in circumstances that affected Matthew’s welfare since entry of

       the 2013 Custody Order. The trial court then concluded that it was in Matthew’s best

       interests to modify the 2013 Custody Order to award joint custody to the parties, with

       primary custody to Defendant.

¶ 28         The trial court complied with its duty to determine whether there was a

       substantial change in circumstances, whether that change in circumstances affected

       Matthew’s welfare, and whether modification of custody was in Matthew’s best

       interests, Shipman, 357 N.C. at 474, 586 S.E.2d at 253, and its findings reflect

       “sufficient evidence of a nexus between the change in circumstances and the welfare

       of” Matthew, Stephens, 213 N.C. App. at 499, 715 S.E.2d at 172.

          3. Evidence of Child Abuse

¶ 29         Plaintiff next argues that the trial court failed to make written findings

       concerning “allegations of child abuse” and “expert testimony . . . presented regarding

       the psychological abuse of” Matthew.

¶ 30         When determining the best interests of a child, the trial court

                    shall consider all relevant factors including acts of
                    domestic violence between the parties, the safety of the
                    child, and the safety of either party from domestic violence
                    by the other party. An order for custody must include
                    written findings of fact that reflect the consideration of
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                    each of these factors and that support the determination of
                    what is in the best interest of the child.

       N.C. Gen. Stat. § 50-13.2(a) (2020). “Any evidence of child abuse is of the utmost

       concern in determining whether granting custody to a particular party will best

       promote the interest and welfare of the child,” and the trial court is obligated “to

       resolve any evidence of [abuse] in its findings of fact.” Dixon v. Dixon, 67 N.C. App.

       73, 78-79, 312 S.E.2d 669, 673 (1984).

¶ 31         In Scott v. Scott, the defendant argued that the trial court erred by failing to

       make detailed findings regarding child abuse. 157 N.C. App. 382, 387, 579 S.E.2d

       431, 435 (2003). There was evidence that the plaintiff spanked the child, but there

       was “also evidence that the spanking did not inflict serious injury.” Id. Additionally,

       the defendant “made no attempt to seek medical attention for the [c]hild, and there

       was no evidence that the spanking left more than temporary red marks.” Id. This

       Court held that this evidence did not obligate the trial court to make specific findings

       concerning abuse. Id. (citing N.C. Gen. Stat. § 7B-101).

¶ 32         Here, though Plaintiff did not allege abuse in his Custody Motion, Plaintiff

       contends he introduced evidence of physical and psychological abuse. However, as in

       Scott, Plaintiff has not introduced evidence that the isolated incidents of spanking or

       yelling he identified either “created serious emotional damage to [Matthew] . . .

       evidenced by [Matthew’s] severe anxiety, depression, withdrawal, or aggressive
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       behavior toward himself or others,” N.C. Gen. Stat. § 7B-101(1)(e) (2020), or evidence

       of any “serious physical injury” or “substantial risk of serious physical injury,” N.C.

       Gen. Stat. § 7B-101(1)(a), (b) (2020). Nor was there evidence that Plaintiff sought

       treatment for Matthew. To the contrary, Plaintiff testified that he did not have

       Matthew in therapy and he never thought Matthew needed to see a psychiatrist.

       Plaintiff points to Dr. Eksir’s testimony, but Dr. Eksir merely gave a general

       definition of emotional abuse and confirmed that emotional abuse can occur in a

       parent-child relationship. The evidence presented at the hearing did not require the

       trial court to make specific written findings concerning abuse.

          4. Abuse of Discretion

¶ 33         Plaintiff argues that the trial court abused its discretion by not granting

       primary custody to Plaintiff.    Plaintiff also contends that there are “no reasons

       supporting Plaintiff having even less visitation time with [Matthew] than he did prior

       to the two years he had exclusive care, custody and control of [Matthew].” We

       disagree.

¶ 34         Both the 2013 Custody Order and the August 2020 Custody Order granted the

       parties joint custody and awarded primary custody to Defendant. The 2013 Custody

       Order awarded Plaintiff physical custody of Matthew from 5 p.m. Thursday to 5 p.m.

       Sunday on “all weekends that [Defendant] must work,” Defendant would have

       physical custody the following weekend, and Plaintiff would again “exercise
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       secondary physical custody of his son for the next two successive weekends[.]” The

       August 2020 Custody Order awarded Plaintiff visitation on the first, second, and

       fourth weekend of each month from 5 p.m. Friday to 7 p.m. Sunday. Each order

       permitted Plaintiff to have vacation time with Matthew upon written notice and

       established holiday visitation schedules providing for approximately equal visitation

       between the parties.

¶ 35         The trial court’s decision to adopt the custody arrangement in the August 2020

       Custody Order was not “manifestly unsupported by reason” or “so arbitrary that it

       could not have been the result of a reasoned decision.” Barton, 152 N.C. App. at 710,

       568 S.E.2d at 266 (quotation marks and citation omitted). The trial court’s findings

       of fact reflect that Defendant experienced a mental health crisis in 2018 which

       adversely affected her ability to care for Matthew. Defendant took steps to address

       her mental health issues, including undergoing two voluntary commitments and

       engaging in extensive psychiatric treatment, upon which she significantly improved.

       Defendant subsequently had successful visitation with Matthew and remained

       gainfully employed.

¶ 36         The trial court’s findings also reflect that Plaintiff had ongoing difficulties in

       co-parenting Matthew.      The Initial Emergency Custody Order provided that

       “Defendant shall have supervised visitation at a time, location, frequency, and

       duration mutually agreed upon by the parties.” The trial court found, however, that
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                                                2022-NCCOA-266

                                            Opinion of the Court



       “Defendant asked Plaintiff many times for expanded visits and a visitation schedule

       which Plaintiff refused.” The trial court further found that after entry of the Second

       Memorandum Order, “except for very limited exceptions, Plaintiff . . . only allowed

       Defendant supervised visitation with Matthew [outdoors] at Freedom Park, no

       matter the weather or the fact that Defendant had given birth to another child, and

       that child should not be in the open elements for four hours.” The trial court also

       found that Plaintiff’s “main complaint regarding the visitation between Defendant

       and [Matthew] was that the half-siblings were competitive with each other” and

       Plaintiff desired for Defendant to be the only person visiting with Matthew, “despite

       the fact that [Matthew] had a step-father and half-siblings that only saw him 4 hours

       each week.”

¶ 37          In light of these findings, the trial court did not abuse its discretion by entering

       the August 2020 Custody Order.4

                                         III.     Conclusion

¶ 38          The trial court had jurisdiction to modify the 2013 Custody Order, did not fail

       to find a nexus between the change in circumstances and Matthew’s welfare, did not



              4 Plaintiff notes that in the August 2020 Custody Order, the trial court stated that “it

       is in the best interest and general welfare of [Matthew] that the Order entered on August 29,
       2018, be modified as hereinbelow memorialized.” No order was entered in this case on that
       date. However, where the trial court otherwise consistently referred to modification of the
       2013 Custody Order, this singular erroneous reference does not demonstrate that the trial
       court abused its discretion.
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                                  Opinion of the Court



fail to address evidence of abuse, and did not abuse its discretion. We thus affirm the

August 2020 Custody Order.

      AFFIRMED.

      Judges GORE and JACKSON concur.
